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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                           )                CASE NO.: 1:21-CR-00579 (DLF)
                                                    )
        Plaintiff,                                  )
v.                                                  )
                                                    )
BRANDON STRAKA,                                     )
                                                    )
        Defendant.                                  )



        RESPONSE TO THE GOVERNMENT’S SENTENCING MEMORANDUM

        Defendant Brandon J. Straka, through undersigned counsel, respectfully submits his

response to the government’s sentencing memorandum filed on January 13, 2022.1

        I.       Introduction

        Before the Court is the sentencing of defendant for a single misdemeanor violation of 40

U.S.C. § 5104(e)(2)(D), Disorderly Conduct in the Capitol Grounds. On this Class B misdemeanor,

the government filed a 30-page sentencing position filled with hyperbolic rhetoric, out of context

statements of defendant, and non-relevant conduct designed to stoke political flames. The

government fixates on defendant’s social media following and is apparently attempting to make a

public example of a prominent Trump-supporting influencer. In its brief, the government attacks

defendant’s constitutionally protected political speech, beliefs, and activities. This is both




1
  Defendant feels compelled to respond on the record to the government’s sentencing memorandum, which was filed
one week prior to the sentencing hearing. The government had the benefit of reading and considering defendant’s
sentencing position, which was timely filed on December 10, 2021, when drafting its position. The government
missed this deadline and informed defendant the following day that it was seeking to continue the sentencing
hearing. The government sought a stipulation to continue, which defendant agreed to join, based on the
government’s representation that it would consider a request from defendant to dismiss this case. The government
informed defendant on January 13, 2022, that his request was denied and proceeded to file its sentencing position
containing highly inflammatory characterizations of defendant.


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unconstitutional and in clear violation of the Department of Justice’s own guidelines. Section 9-

27.730 of the Department of Justice Manual provides:

        The attorney for the government should make sentencing recommendations based
        on an individualized assessment of the facts and circumstances of each case and the
        history and characteristics of the defendant, without improper consideration of the
        defendant’s race, religion, gender, ethnicity, national origin, sexual orientation, or
        political association, activities, or beliefs.

        Defendant accepts full responsibility for his conduct at the Capitol on January 6 and has

expressed remorse for entering the restricted Capitol Grounds. In evaluating an appropriate

sentence for this offense, the following factors weigh heavily for a modest non-custodial sentence:

(1) defendant did not enter the Capitol, (2) defendant did not engage in any violence, (3) defendant

did not possess any weapons, (4) defendant accepted early responsibility for his conduct and

voluntarily submitted to three separate government interviews.

        During the interviews the government was focused on establishing an organized conspiracy

between defendant, President Donald J. Trump, and allies of the former president, to disrupt the

Joint Session of Congress on January 6. Defendant answered all questions truthfully and denied

the existence of any such plot. In August 2021, the FBI arrived at the same conclusion and found

no evidence that violence was centrally coordinated by any individual or group.2 Despite these

findings, the government persists with a false narrative that defendant’s actions were premeditated

and orchestrated in concert with the greater mob that stormed the Capitol. The Court should reject

this improper attempt to expand the scope of the appropriate sentencing factors, and consider only

defendant’s relevant conduct with respect to the charged offense: misdemeanor disorderly conduct.




2
 See Mark Hosenball, Exclusive: FBI finds scant evidence U.S. Capitol attack was coordinated – sources, Reuters,
August 20, 2021, https://www.reuters.com/world/us/exclusive-fbi-finds-scant-evidence-us-capitol-attack-was-
coordinated-sources-2021-08-20/


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       II.     The Government’s Inappropriate and Distorted References to Defendant’s

               Constitutionally Protected Speech Should Not Be Considered

       Speech critical of government officials and public conduct lies at the very heart of the First

Amendment. Gentile v. State Bar of Nevada, 501 U.S. 1030, 1034 (1991). Because of this,

statements of unpopular advocacy, ostracized ideas, and painfully ugly and regressive comments

are fully protected as free speech. McIntyre v. Ohio Elections Comm’n, 514 U.S. 334, 357 (1995)

(the First Amendment’s purpose is to protect unpopular speakers from retaliation and their ideas

from suppression).

          Defendant Was Protesting Legitimate Concerns with the 2020 Presidential Election

       “The First Amendment protects the right of an individual to speak freely, to advocate ideas,

to associate with others, and to petition his government for redress of grievances.” Smith v. Ark.

State Highway Emp., Loc.1315, 441 U.S. 463, 464 (1979). The government is prohibited from

infringing upon these rights by either “a general prohibition against certain forms of advocacy . . .

or . . . imposing sanctions for the expression of particular views it opposes. . . ." Id. (citing NAACP

v. Button, 371 U.S. 415 (1963); Brandenburg v. Ohio, 395 U.S. 444 (1969); and Garrison v. La.,

379 U.S. 64 (1964)).

       Defendant and others present on January 6 were engaged in a protest to express their

dissatisfaction with the manner in which the 2020 presidential election was conducted and

certified. Doing so in a peaceful manner was well within their First Amendment rights. The

government repeatedly instructs this Court to consider this case in the larger context but says

nothing about why the protestors were actually present on January 6 or the legitimate concerns

they wanted addressed by their elected representatives.




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        An example of one of the many complaints with the 2020 presidential election is the

decision of the Pennsylvania Supreme Court to unilaterally extend the deadline for receiving mail-

in ballots by three days. Justice Thomas summed up the Constitutional concern succinctly:

        The Constitution gives to each state legislature authority to determine the “Manner”
        of federal elections. Art. I, §4, cl. 1; Art. II, §1, cl. 2. Yet both before and after the
        2020 election, nonlegislative officials in various States took it upon themselves to
        set the rules instead. As a result, we received an unusually high number of petitions
        and emergency applications contesting those changes. The petitions here present a
        clear example. The Pennsylvania Legislature established an unambiguous deadline
        for receiving mail-in ballots: 8 p.m. on election day. Dissatisfied, the Pennsylvania
        Supreme Court extended that deadline by three days. The court also ordered
        officials to count ballots received by the new deadline even if there was no
        evidence—such as a postmark— that the ballots were mailed by election day.

Republican Party v. Degraffenreid, 141 S. Ct. 732, 732-33 (2021) (Thomas, C., dissenting).

        Echoing the concerns of defendant and the vast majority of peaceful protestors present on

January 6, a total of 8 Senators and 139 House Members objected to the certification of election

results from several states.3 Raising concerns and objecting to the electoral college vote is not a

nefarious attack on our democracy — it is a core component of ensuring the legitimacy of our

constitutional republic. Since 1887, 3 U.S.C. § 15 has set the procedure for Members of Congress

to object to electoral votes. Lawmakers may object to individual electoral votes or to state returns

as a whole during the Joint Session. Defendant was present on January 6 to call on elected officials

to lawfully object to the electoral college vote, consistent with the procedures outlined in 3 U.S.C.

§ 15.

                   Defendant’s Pre-January 6 Comments Are Protected Political Speech

        The government attempts to hold defendant responsible for the violent attack on the Capitol

by suggesting that his public comments prior to January 6 played a key role in inciting a violent



3
 See Harry Stevens, How members of Congress voted on counting the electoral college vote, The Washington Post,
January 7, 2021, https://www.washingtonpost.com/graphics/2021/politics/congress-electoral-college-count-tracker/.


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mob to breach the Capitol. Nothing could be further from the truth. In support of its narrative, the

government seizes on three tweets defendant made prior to January 6. See ECF 36, Figures A, B,

and C. The government describes most of defendant’s statements out of context and applies the

most perverse interpretation to them. In reality, defendant’s statements were discussions of abstract

advocacy about a highly contested presidential election.

       The first and second tweet sent in early December 2020 were a pair of strongly worded

messages opposing the transition to President Biden without an audit of contested election results.

Gov. Figure A and B. Defendant states, “If we don’t get a thorough audit we must not allow a

transfer.” The references in the tweet to a “civil war” was not a call to violence, as the government

suggests, it was a figure of speech referencing a political struggle. The government concedes that

defendant’s “messages contain rhetorical flourishes that are common in political speech,” but then

suggests, without evidence, that defendant’s statements could “have been interpreted by some

readers as a call for more than just a figurative struggle.” ECF 36, p. 5. The government does not

cite one example of defendant’s tweets influencing a single person to engage in criminal conduct.

       Similarly, Gov. Figure C contains a tweet from December 19, 2020, with a call to “rise up”

(figuratively) and be recognized by the government. The full statement reads, “Our government

no longer listens & takes instructions from the People. They’ve decided to become dictators to the

People. It’s time to rise up!” This is precisely the category of speech the First Amendment protects.

It is not incitement, and barely registers above heated political rhetoric. See generally Cohen v.

California, 403 U.S. 15, 24–26 (1971). It was also not imminent—being issued almost a month

prior to January 6. See Brandenburg v. Ohio, 395 U.S. 444, 448 (1969) (First Amendment prohibits

punishment of advocacy except when it incites imminent unlawful action).




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       The government’s sentencing memorandum is devoid of any mention of the First

Amendment, let alone any analysis of whether defendant’s statements meet the Brandenburg

standard required for punishing speech. The government may only punish protest-related speech

that includes a direct “call to violence” or advocacy that is “directed to inciting or producing

imminent lawless action and is likely to incite or produce such action.” See Brandenburg, 395 U.S.

at 447; Noto v. U.S., 367 U.S. 290, 297–300 (1961). At the same time, the Supreme Court has

consistently protected the statement of an idea that “may prompt its hearers to take unlawful

action. . . .” Noto, 367 U.S. at 297 (quoting Dennis v. U.S., 341 U.S. 494, 545 (1951) (Frankfurter,

J., concurring)). Indeed, even a protestor screaming, “We’ll take the f***ing street again” amidst

an agitated crowd resisting police authority could not be punished for his speech. Hess v. Indiana,

414 U.S. 105, 107 (1973). The government fails to distinguish this important constitutional divide

and, by so doing, seeks to penalize protected advocacy.

       None of defendant’s statements meet the test for a “call to violence” as the government

suggests. They lack any specific call to violence (hypothetically, “People, find a police officer and

bash his head in!” or “Attack Senator John Doe now!”). They are not particular in that they do not

ask protestors to take unambiguous actions or engage in detailed criminal acts. They are not

imminent—the quoted material occurred a month before the January 6 event. And whatever the

government believes defendant communicated to his supporters remains an inkblot in a

constitutional Rorschach test. The speech that the government finds objectionable remains

protected advocacy, and should not be considered for purposes of sentencing.




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       III.    Defendant Did Not Engage in Violence or Encourage Anyone to Commit

               Violence on January 6

       Defendant’s conduct on January 6 must be viewed within the prism of what defendant

perceived and knew at the time of the offense. Defendant was on the Capitol grounds for only 15

minuets. The events unfolded quickly and chaotically. As the government acknowledges, because

defendant arrived by Metrorail at the Capitol, defendant “approached the building from the east

side, avoiding the largest crowds and not seeing some of the most significant violence that day.”

ECF 36, p. 17. Defendant did not witness the destruction of property and violent confrontations

with police occurring on the west side of the Capitol. He believed he was participating in a peaceful

protest and wanted to make his voice heard at the Capitol. Vociferous political demonstrations

near and inside the Capitol are commonplace, and arguably a hallmark of our open and free

republic. Defendant had no way of comprehending the magnitude of the full events unfolding at

the Capitol, and only understood what transpired on January 6 when watching the news later that

evening in his hotel room.

       Everything defendant witnessed and experienced on the Capitol Grounds was captured on

video, a copy of which is attached as Exhibit 1 to the government’s sentencing memorandum.

When watching the video, it is apparent that defendant went to the Capitol primarily to document

and share what was happening on the Capitol grounds. He was not leading a mob into the Capitol;

he was in the rear of the crowd, following along and narrating what he was seeing and hearing. If

anything, the defendant was being led by the crowd.

       The video shows defendant’s vantage point when members of the crowd removed a shield

from a U.S. Capitol Police Officer. Defendant was standing at the rear of the crowd and was

holding his phone far above his head to film what was happening ahead of him. Defendant did not




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yell orders or encourage the crowd to take the officer’s shield. When the crowd began yelling “take

it, take it,” defendant can be heard repeating the statement in a low tone to his phone to document

what was being said. It was not a call to action. This is consistent with the statement of offense

adopted by defendant and the government. The statement describes the event as follows,

“[defendant] recorded a video of what was happening, and in the video, he chimed in with the

crowd, saying “take it, take it.” ECF 26, p. 5 at ¶ 9 (emphasis added).

       The government admits that there “is no indication that Straka participated in removing the

shield from the officer,” but criticizes defendant for doing “nothing to discourage the rioters from

removing the shield.” ECF 36, p. 9. The government cites no duty to prevent third parties from

committing criminal conduct. There is no such duty and defendant should not be subjected to a

more severe sentence for failing to meet a nonexistent legal obligation.

                         Defendant’s Social Media Posts on January 6

       The government falsely claims that defendant used his social media to encourage rioters

to continue fighting on January 6. ECF 36, p. 11. The government writes, “Later as law

enforcement was still working to clear rioters from the Capitol grounds, Straka encouraged them

to continue fighting.” Id. The only problem is that defendant’s post says nothing of the sort.

Defendant wrote at 5:33 pm, “Patriots at the Capitol – HOLD. THE. LINE.” Defendant made

this statement after he left the Capitol Grounds, but before learning about the extent of violence

committed on the west side of the Capitol.

       From defendant’s perspective he saw large crowds of protestors peacefully gathered in

front of the Capitol, waving banners and signs in support of their political message. Defendant’s

message was directed at those people peacefully assembled, and he was encouraging them to

continue their demonstration. His call was to “Patriots” not “rioters.” Defendant’s message was




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not a call for violence or to “continue fighting,” as the government argues. Defendant did not

write “storm the Capitol,” “attack the police,” or “continue fighting,” which would have been

direct calls for violence and outside the bounds of speech protected under Brandenburg.

         The remainder of defendant’s social media posts were similarly written before defendant

saw television footage of the west side of the Capitol. These statements are also constitutionally

protected speech. Defendant’s commentary on a political movement not being a “revolution of

ice cream cones & hair-braiding parties” is nothing more than colorful political rhetoric. Many

political movements in our nation’s history have used civil disobedience to call attention to their

cause, including most recently, the Black Lives Matter movement. When members of this

movement were burning cities and calling for violent unrest in the streets, Vice President Kamala

Harris publicly declared:

         They’re not going to stop and everyone beware, because they’re not going to stop.
         They’re not going to stop before Election Day in November and they’re not going
         to stop after Election Day. Everyone should take note of that on both levels. They’re
         not going to let up and they should not and we should not.”4

         Unfortunately, this type of heated political language has become commonplace in

our politics. For example, Congresswoman Maxine Waters called for protesters to “stay on

the street” and “get more confrontational.”5 Politicians like Harris and Waters make

incendiary comments with impunity and face no scrutiny or legal consequences from the

Justice Department. Defendant should not be punished for using similar language,

regardless of his political affiliations.




4
 Thomas Barrabi, Flashback: Kamala Harris said nationwide protests are 'not going to stop', Fox News, September
24, 2020, https://www.foxnews.com/politics/flashback-kamala-harris-nationwide-protests-not-going-to-stop.
5
  Chandelis Duster, Waters calls for protesters to 'get more confrontational' if no guilty verdict is reached in Derek
Chauvin trial, CNN, April 19, 2021, https://www.cnn.com/2021/04/19/politics/maxine-waters-derek-chauvin-
trial/index.html.


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       IV.     Defendant Disavowed Violence Committed on January 6

       The government incorrectly claims that defendant showed a “lack of remorse” in the

aftermath of January 6, and that there was “no indication that Straka used his social media to

disavow what occurred on January 6 prior to meeting with agents.” ECF 36, p. 19. This is simply

not true. Defendant was arrested on January 25, 2021, and first met with federal agents on February

17, 2021. Eight days after January 6, and 34 days before his meeting with agents, defendant

published the below tweet disavowing all violence:




                                              Def. Figure A

       Defendant unequivocally disavowed all forms of violence using his social media account.

Despite this clear condemnation, the government repeatedly faults defendant for failing to use his

platform to adequately “denounce his conduct and the conduct of the rioters.” ECF 36, p. 13.

       Additionally, as the government acknowledges, defendant removed the videos he posted

on January 6 because after learning of the magnitude of violence committed on the west side of

the Capitol he felt “ashamed” and did not want to be perceived as supporting violence. ECF 36, p.


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13. Defendant removed his post long before his arrest and interview with agents. Defendant

demonstrated his remorse by acknowledging his wrongdoing and by immediately agreeing to be

interviewed by agents after his arrest. The defendant does not excuse his presence on the restricted

Capitol Grounds and accepts full responsibility for his conduct on January 6. Defendant’s

admission to engaging in disorderly conduct should not, however, serve as a basis to blame

defendant for the violent attack on the Capitol committed by a select group of criminal actors.

       Defendant also expressed sincere remorse for his conduct during his interview with U.S.

Probation. He explained that “if he could go back in time, he would never have gone to

Washington, D.C.” He wishes he would have stayed in Georgia to assist with the run-off election

for U.S. Senate. Defendant regrets his presence on the Capitol Grounds and has suffered

tremendous consequences both in his personal and professional life.

       V.      Defendant is Not Responsible for the Breach of the Capitol

       One of the most absurd arguments advanced by the government is that “but for”

defendant’s actions the “riot likely would have failed.” ECF 36, p. 3. The government argues that

because defendant was present at the Capitol, along with a large number of others, he bears

responsibility for overwhelming law enforcement, breaching the Capitol, and disrupting the Joint

Session of Congress. Putting aside the fact that defendant is not responsible for the criminal

conduct of others, the government has not charged defendant with any of those crimes. He is

charged with misdemeanor disorderedly conduct based on his personal actions. There was no

conspiracy. This was a demonstration that unfortunately spiraled out of control.

       If the government was sincere about analyzing the factors contributing to the breach of the

Capitol, then they would examine all the factors. The government fails to acknowledge the serious

security failures that occurred on January 6. To be clear, defendant does not seek to assign blame




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for the Capitol breach to security and intelligence agencies, but the government’s misleading

claims that the riot would have likely failed but for defendant’s actions necessitate a rebuttal and

review of the government’s own findings regarding security failures at the Capitol on January 6.

       A 127-page bipartisan Senate report concluded that security and intelligence failures at

every level of government “allowed for the breach of the Capitol” on January 6.6 Specifically, the

report determined that:

           •   The Federal Intelligence Community—led by the Federal Bureau of Investigation

               (FBI) and Department of Homeland Security (DHS)—did not warn of a potential

               for violence on January 6th.

           •   USCP intelligence components failed to convey the full scope of threat information

               they possessed.

           •   USCP was not adequately prepared to prevent or respond to the January 6th security

               threats, which contributed to the breach of the Capitol.

           •   Opaque processes and a lack of emergency authority delayed requests for National

               Guard assistance.

           •   The intelligence failures, coupled with the Capitol Police Board’s failure to request

               National Guard assistance prior to January 6th, meant the District of Columbia

               National Guard (DCNG) was not activated, staged, and prepared to quickly respond

               to an attack on the Capitol. As the attack unfolded, the Department of Defense

               (DOD) required time to approve the request and gather, equip, and instruct its

               personnel on the mission, which resulted in additional delays.




6
 A full copy of the Senate report can be accessed at
https://www.hsgac.senate.gov/imo/media/doc/HSGAC&RulesFullReport_ExaminingU.S.CapitolAttack.pdf.


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       But for these security failures, the riot would have likely failed. The government cannot

ignore this evidence to advance its “but for” narrative against defendant. While there is plenty of

blame to spread around, assigning blame for the events of January 6 should not factor into the

Court’s determination of an appropriate sentence for defendant.

       VI.     The Government’s Sentencing Recommendation Would Create a Significant

               Sentencing Disparity

       The government acknowledges that it has made “meaningful distinctions between

offenders,” and that “the need to avoid unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct…does apply.” Here, the

government’s recommended sentence seeks to impose a harsher sentence for lesser conduct,

apparently because of defendant’s history of public political activism. The government also

continues to allude to the fact that the Capitol breach was a mass crime – implying the need for

mass punishment, which is contrary to constitutional principles.

       The cases cited by the government do not support the government’s recommended

sentence. The government cites United States v. Jessica Bustle, 21-cr-238-TFH in support of its

contention that defendant should be sentenced to a 4-month period of home confinement. Bustle

entered the Capitol for 20 minutes, was charged with a separate offense for doing so, and bragged

about entering the Capitol. Conversely, defendant did not enter the Capitol and was appropriately

charged with a different crime precisely because his conduct was different. Unlike Bustle,

defendant did not attempt minimize and justify the rioters conduct – he specifically disavowed

violence after he learned the full scope of the events of January 6. Despite these differences, and

contrary to their stated goal of avoiding unwarranted sentencing disparities, the government seeks

to impose a harsher sentence on defendant for lesser conduct.




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       The government also cites United States v. Andrew Bennett, 21-cr-227-JEB. Like Bustle

and unlike defendant, Bennett entered the capitol for 25 minutes and was charged for doing so.

Bennett also bragged about his unlawful entry and had five previous criminal convictions. The

court in Bennet also determined that he intended to do more than watch the rally. Not only did

defendant not enter the Capitol, he also has no criminal record.

       While the government cites to these cases as comparable to the case before this Court, they

are obviously distinguishable. They also highlight the government’s attempt to impose a sentence

on defendant harsher than the sentences imposed on others whose conduct was admittedly more

egregious. In order to accomplish the government’s stated goals of avoiding sentence disparities

and making meaningful distinctions between offenders, the Court should do just that and impose

a lesser sentence on defendant.

       VII.    Conclusion

       Defendant respectfully requests the Court to consider only his conduct related to the

offense in determining the appropriate sentence. Based on the foregoing, and defendant’s

sentencing position previously filed, defendant believes a sentence of time served for the two days

he has already served in jail, or a short term of house arrest coupled with community service,

would be sufficient but not greater than necessary in this matter.

                                                     Respectfully submitted,

                                                     /s/ Bilal A. Essayli
                                                     Bilal A. Essayli
                                                     ESSAYLI & BROWN LLP
                                                     18191 Von Karman Ave., Ste. 100
                                                     Irvine, CA 92612
                                                     Telephone: (949) 508-2980
                                                     bessayli@essaylibrown.com

                                                     Counsel to Defendant Brandon J. Straka



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